             Case 1:06-cr-00116-DAD Document 63 Filed 09/19/07 Page 1 of 1


 1   McGREGOR W. SCOTT
     United States Attorney
 2   KEVIN P. ROONEY
     Assistant U.S. Attorney
 3   4401 Federal Building
     2500 Tulare Street
 4   Fresno, California 93721
     Telephone: (559) 497-4000
 5

 6

 7
                    IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                           EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,           )       CR F 06-116 OWW
11                                       )
                   Plaintiff,            )
12                                       )       ORDER FOR DISMISSAL OF
           v.                            )       INDICTMENT AND RECALL OF
13                                       )       WARRANT
     OSCAR CHAVEZ,                       )
14                                       )
                                         )
15                 Defendant.            )
                                         )
16

17        Pursuant to the motion by the United States, IT IS HEREBY
18 ORDERED that the Indictment filed herein be dismissed against

19 defendant OSCAR CHAVEZ, only, without prejudice and in the interest

20 of just, and any warrant shall be recalled.

21

22
     IT IS SO ORDERED.
23
   Dated: September 18, 2007                /s/ Oliver W. Wanger
24 emm0d6                              UNITED STATES DISTRICT JUDGE
25

26

27

28
                                             1
